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                   IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

                               §
DR. GEORGE RICHARDSON,         §
ROSALIE WEISFELD, AUSTIN       §
JUSTICE COALITION, COALITION §
OF TEXANS WITH DISABILITIES, §
MOVE TEXAS CIVIC FUND,         §
LEAGUE OF WOMEN VOTERS         §
OF TEXAS                       §
                               §
      Plaintiffs               §
                               §                      Civil Case No. 5:19-cv-00963
VS.                            §
                               §
TEXAS SECRETARY OF STATE,      §
TRUDY HANCOCK, in her official §
Capacity as BRAZOS COUNTY      §
ELECTIONS ADMINISTRATOR and §
PERLA LARA in her official     §
Capacity as CITY OF MCALLEN,   §
TEXAS SECRETARY,               §
        Defendants             §

    ORDER GRANTING DEFENDANT PERLA LARA’S, IN HER
 OFFICIAL CAPACITY AS CITY OF MCALLEN CITY SECRETARY,
            MOTION FOR SUMMARY JUDGMENT

         On                          , 2020, the Court considered Defendant Perla Lara’s,
in her official capacity as City of McAllen City Secretary, Motion for Summary Judgment.

       After due consideration of the motion, replies and responses, if any, and the

 arguments of counsel, the Court hereby GRANTS the motion.

       Done at McAllen, Texas, this        day of                , 2020.



                                                United States District Judge
